
PER CURIAM.
The state concedes that Appellant’s conviction must be reversed and remanded for a new trial because the record was devoid of a written waiver of a jury trial, nor did the record reflect the trial court conducted an inquiry as to whether Appellant knowingly, intelligently, and voluntarily waived jury trial. Tucker v. State, 559 So.2d 218 (Fla.1990); Mickens v. State, 773 So.2d 655 (Fla. 4th DCA 2000); Hyler v. State, 732 So.2d 1208 (Fla. 4th DCA 1999). All other issues are moot.
Reversed and remanded for a new trial.
STONE, POLEN and FARMER, JJ., concur.
